 Case:18-05288-EAG11 Doc#:224 Filed:07/10/19 Entered:07/10/19 10:48:08      Desc: Main
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 1                     IN THE UNITED STATES BANKRUPTCY COURT FOR
                               THE DISTRICT OF PUERTO RICO
 2

 3
     IN RE:                                    CASE NO. 18-05288-EAG11
 4    SKYTEC INC                               Chapter 11

 5

 6
     XX-XXXXXXX
 7
                     Debtor                       FILED & ENTERED ON JUL/10/2019
 8

 9
                                        O R D E R
10
           The application for allowance of compensation filed by Alexis Fuentes
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     Hernandez in the amount of $42,900.00 plus $2,914.50 in expenses (docket #218),
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     having been duly notified to all parties in interest, and no timely replies or
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     objections having been filed, it is now
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           ORDERED that said motion be and is hereby granted.
15
           IT IS SO ORDERED.
16
           In Ponce, Puerto Rico, this 10 day of July, 2019.
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